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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF ARKANSAS
                           DELTA DIVISION

EDWARD D. SCHULER                                                          PLAINTIFF
ADC #140938

v.                      CASE NO. 2:20-CV-00194-BSM

WESTBROOK, et al.                                                       DEFENDANTS

                                    JUDGMENT

     Consistent with the order entered today, this case is dismissed without prejudice.

     IT IS SO ORDERED this 5th day of November, 2020.



                                                 UNITED STATES DISTRICT JUDGE
